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£o Bes ah tY¥O f GLEAKU S DISTRICT COURT

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BY _ DISTRICT OF ARIZON DEPUTY

City, State, Zip Code

(Failure to notify the Court of your change of address may result in dismissal of this action.)

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

(! frac les bee )
(Full Name of Fiaintf _ Plaintiff, , Cyt /- 0 5 67 / TUC U CB 4

an

} CASE NO. _.-
) (To be supplied by the Clerk)
ay Cras les LL. RQ, an )
(Full Name of Defendant) x )
cy Raenos \ Ve )
. . “Ay ) cnn. RIGHTS COMPLAINT
™ °
gy Cosizon Wenn, Lae, ,) Y A PRISONER
. ) VR] PRA RL DEMANDED
(4) ) Original Complaint
Defendant(s). ) (1 First Amended Complaint
Check if ther eare additional Defendants and attach page 1-A listing them. ) C] Second Amended Complaint

‘A. FURISDICTION

1. This Court has4 fisdiction over this action pursuant to:
8-U.S.C. § 1343(a); 42 U.S.C. § 1983
C] 28 U. S.C. § 1331; Bivens v. Six Unknown Federal Narcotics Agents. 403 U.S. 388 (1971).

(] Other:

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o Institution/city where violation occurred: {USS m- Sarete S@ ta Pre: / rey

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B. DEFENDANTS

1. Name of first Defendant: Wnasle es LL. Ra ON The first Defendant is employed as:
AMicectac at Venice o\ S88\ce. .
(Position and Title) (institution)
2. Name of second Defendant: Radnach Teak The second Defendant is employed as:
Assicton Mreioc Weoltls Secvires at Cenicol OWiee
(Position and Title) - (Institution)
3. Name of third Defendant: Cacyon Weotn ine. The third Defendant is employed as:
Weolk, Cace Peovides ___at_ASkt: Xo.
(Position and Title) (Institution)
4, Name of fourth Defendant: . The fourth Defendant is employed as:
at. : .
(Position and Title) (Institution)

If you name more than four Defendants, answer the questions listed above for each additional Defendant on a separate page.

C. PREVIOUS LAWSUITS

1. Have you filed any other lawsuits while you were a prisoner? O Yes De

2. Ifyes, how many lawsuits have you filed? . Describe the previous lawsuits:

a. First prior lawsuit:
1. Parties: v.

2. Court and case number:

3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

b, Second prior lawsuit:
1. Parties: Vv.

2. Court and case number:

3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

c. Third prior lawsuit:
1. Parties: v.

2. Court and case number:

3. Result: (Was the case dismissed? Was it appealed? Is it still pending?).

If you filed more than three lawsuits, answer the questions listed above for each additional lawsuit on a separate page.

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D. CAUSE OF ACTION’

COUNT I

1. State the constitutional or OT ON civil right that was violated: ,
Mand mn en SO

2. Count I. Identify the issue involved. Check only one. State additional issues in separate counts.
Cl Basic necessities =. = = [1 Mail C1 Access to the court Er Medial car
C1 Disciplinary proceedings [C] Property C] Exercise of religion Cl Retaliation
C Excessive force by an officer - L] Threat to safety CL] Other:

3. Supporting Facts. State as briefly as possible the FACTS supporting Count I. Describe exactly. what each _
Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal

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4. Injury. State how you were injured by the actions or inac ions of the 2 Defendants). 7
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5. Administrative Remedies:
a. Arethereany administrative remedies (grievance procedures or administrative appeals) ws ‘at your
s

institution? COONo
Did you submit a request for administrative relief on Count I? Bis [LJ No
es [INo

Did you appeal your request for relief on Count I to the highest level?
d. Ifyou did not submit or appeal a request for administrative relief at any level, briefly explain why you

did not.

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E. REQUEST FOR RELIEF

State the relief you are seeking:

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N\o RaLosss Aomnnars “ASO OV

I declare under penalty of perjury that the foregoing is true and correct.

’ Executed on \\- ON VOVTI 4
DATE SIGNATURE OF PLAINTIFF

AC Rosdead B. WW \ilnar ey
(Name and title“of paralegal, legal assistant, or
_ other person who helped prepare this complaint)

atl
(Signature of attorney, if any)

(Attorney’s address & telephone number)

ADDITIONAL PAGES

All questions must be answered concisely in the proper space on the form. If you need more space, you may attach
no more than fifteen additional pages. But the form must be completely filled in to the extent applicable. If you
attach additional pages, be sure to identify which section of the complaint is being continued and number all pages.
